Case 1:23-mi-99999-UNA Document 850-3 Filed 03/20/23 Page 1 of 2

Department of Homeland Security

S. Citizenship and Immigration Services

Form I-797C, Notice of Action

| THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT, |

NOTICE TYPE NOTICE DATE
1 i
CASE TYPE USCIS ALIEN NUMBER
A AXXXXXXXX
RECEIPT NUMBER RECEIVED DATE PAGE
; 734215 |_October 29, 2020 lof]
PRIORITY OATE PREFERENCE CLASSIFICATION Te OF BIRTH
03 2019 - a

NAME AND MAILING ADDRESS

PAYMENT INFORMATION:

Application/Petition Fee:
Biometrics Fee:

Total Amount Received:
Total Balance Due:

$1,140.00
$85.00
$1,225.00
$0.00

We have received your form and are currently processing the above case. If this notice contains a priority date, this priority does not reflect earlier
retained priority dates. We will notify you separately about any other case you filed

If we determine you must submit biometrics, we will mail you a biometrics appointment notice with the time and place of your appointment

If you ware se or need to update your personal information listed above, please visit the USCIS Contact Center webpage at
1s. 208/coniac ( to connect with a live USCIS representative in English or Spanish.

USCIS Office Address:
USCIS

National Benefits Center
P.O. Box 648003

Lee's Summit, MO 64002

USCIS Contact Center Number:

(800)375-5283
ATTORNEY COPY

If this is an interview or biometrics appointment notice, please see the back of this notice for important information,

Form L-797C 4/19

Case 1:23-mi-99999-UNA Document 850-3 Filed 03/20/23 Page 2 of 2

Department of Homeland Security
US? Citizenship and Immigration Services

THIS NOTICE DOES NOT GRANT ANY IMMIG

Form I-797C, Notice of Action

RATION STATUS OR BENEFIT.

NAME AND MAILING ADDRESS

NOTICE TYPE NOTICE O4TE
i February 02. 2021
CASE TYPE USCIS ALIEN NUMBER
} 1485. Apolication to Register Permanent Residence or Adiust Status AXXXXXXXX
RECEIPT NUMBER RECBVED OaTE PAGE
ASC2 190734218 October 29, 2020 lof
PROORITY DATE PREFERENCE CLASSIFICATION 7
Alico worker Form 1-140
PAYMENT INFORMATION:
Application Petition Fee: $1,140.00
Biometrics Fee: $85.00
Total Amount Received: $1,225.00
Total Balance Due: $0.00

retained priority dates. We will notify you separately about any other case you filed

We have received your form and are currently processing the above case. If this notice contains a priority date, this priority does not reflect earlier

If we determine you must submit biometrics, we will mail you a biometrics appointment notice with the time and place of your appointment

If you have questions or need to update your personal information listed above, please visit the USCIS Contact Center webpage at
Uses pov /conlueicenter to connect with a live USCIS representative in English or Spanish

USCIS Office Address:
USCIS

National Benefits Center
P.O. Box 648003

Lee's Summit, MO 64002

USCIS Contact Center Number:

(800)375-5283
ATTORNEY COPY

ACU

If this is an interview or biometrics appointment notice, please see the back of this notice for imnartant infarmatian EE enna
